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                              UNITED STATES JUDICIAL PANEL
                                           on



IN RE: LIQUID ALUMINUM SULFATE
ANTITRUST LITIGATION                                                                    MDL No. 2687


                                        TRANSFER ORDER


         Before the Panel:• Plaintiff in a District of Minnesota action and plaintiff in a District of
New Jersey action separately move under 28 U.S.C. § 1407 to centralize pretrial proceedings in this
litigation in, respectively, the District of Minnesota and the District of New Jersey. The litigation
consists of nineteen actions listed on Schedule A. Additionally, the Panel has been notified of 27
related actions pending in six districts. 1

        All responding parties support centralization, but disagree as to the appropriate transferee
district for this litigation. Plaintiffs in six actions and potential tag-along actions support
centralization .in the District of Minnesota. Plaintiffs in fourteen actions and potential tag-along
actions and all but one responding defendant2 support centralization in the District of New Jersey.
Plaintiffs in nine actions and potential tag-along actions suggest centralization in the Eastern District
of Pennsylvania, in the first instance or in the alternative.

        On the basis of the papers filed and the hearing session held, we find that these actions
involve common questions of fact, and that centralization of this litigation in the District of New
Jersey will serve the convenience of the parties and witnesses and promote the just and efficient
conduct of this litigation. These actions share factual questions arising out of allegations that
defendants conspired to fix prices; conspired to circumvent competitive bidding and independent
pricing; and committed other anticompetitive practices designed to unlawfully fix, raise, maintain
and stabilize the prices at which liquid aluminum sulfate was sold in the U.S. between 1997 and
2010, in violation of Section 1 of the Sherman Act. Centralization will eliminate duplicative



        • Judge Charles R. Breyer took no part in the decision of this matter.
        1
         These and any other related actions are potential tag-along actions. See Panel Rules 1.1 (h),
7.1, and 7.2.
       2
         Chemtrade Logistics Income Fund; Chemtrade Logistics, Inc.; Chemtrade Solutions, LLC;
Chemtrade Chemicals US, LLC; Chemtrade Chemicals Corporation; General Chemical Corporation;
GenTek, Inc.; General Chemical Performance Products, LLC; Frank A. Reichl; C&S Chemicals,
Inc.; GEO Specialty Chemicals, Inc.; and Kemira Chemicals, Inc .. Defendant Hawkins, Inc., takes
no position as to the Section 1407 motion.
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                                                  -2-

discovery; prevent inconsistent pretrial rulings, particularly with respect to class certification; and
conserve the resources of the parties, their counsel and the judiciary.

        We are persuaded that the District of New Jersey has the closest nexus to this litigation.
Several defendants are located in or near this district, including defendants named in most actions,
and therefore, relevant documents and witnesses are likely to be found there. A related criminal
action is pending in this district, and a majority of actions already are pending there.

        IT IS THEREFORE ORDERED that the actions listed on Schedule A and pending outside
the District ofNew Jersey are transferred to the District of New Jersey and, with the consent of that
court, assigned to the Honorable Jose L. Linares for coordinated or consolidated pretrial proceedings.


                                       PANEL ON MULTIDISTRICT LITIGATION




                                                          Sarah S. Vance
                                                              Chair

                                       Marjorie 0. Rendell                     Lewis A. Kaplan
                                       Ellen Segal Huvelle                     R. David Proctor
                                       Catherine D. Perry
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IN RE: LIQUID ALUMINUM SULFATE
ANTITRUST LITIGATION                                             MDL No. 2687


                                    SCHEDULE A


           District of Minnesota

     CITY OF ROCHESTER, MINNESOTA v. HAWKINS, INC., ET AL.,
           C.A. No. 0: 15-04266
     METROPOLITAN COUNCIL v. HAWKINS, INC., ET AL., C.A. No. 0: 15-04303

           District of New Jersey

     CENTRAL ARKANSAS WATER v. REICHL, ET AL., C.A. No. 2:15-07827
     DETROIT WATER AND SEWERAGE DEPARTMENT v. REICHL, ET AL.,
           C.A. No. 2:15-07896
     CHESTER WATERAUTHORITYv. REICHL, ET AL., C.A. No. 2:15-07928
     CITY AND COUNTY OF DENVER v. GENERAL CHEMICAL PERFORMANCE
           PRODUCTS, LLC, ET AL., C.A. No. 2: 15-07996
     CITY OF WINTER PARK v. GENERAL CHEMICAL CORPORATION, ET AL.,
           C.A. No. 2: 15-08031
     HAZELTON CITY AUTHORITYv. REICHL, ET AL., C.A. No. 2:15-08056
     THE CITY OF CINCINNATI v. REICHL, ET AL., C.A. No. 2: 15-08065
     AMERICAN EAGLE PAPER MILLS, INC. v. REICHL, ET AL., C.A. No. 2:15-08142
     OAKLAND COUNTY, MICHIGAN v. REICHL, ET AL., C.A. No. 2:15-08198
     AMREX CHEMICAL COMPANY, INC. v. REICHL, ET AL., C.A. No. 2:15-08227
     CITY OF GREENSBORO v. REICHL, ET AL., C.A. No. 2:15-08230
     CITY OF NEWARK v. REICHL, ET AL., C.A. No. 2:15-08261
     THE BRICK TOWNSHIP MUNICIPAL UTILITIES AUTHORITY, ET AL. v.
           REICHL, ET AL., C.A. No. 2: 15-08273
     THE CITY OF TEXARKANA, ARKANSAS, ET AL. v. REICHL, ET AL.,
           C.A. No. 2:15-08294
     CLARKSVILLE LIGHT & WATER CO. v. GENERAL CHEMICAL CORPORATION,
           ET AL., C.A. No. 2:15-08295

           Eastern District of Pennsylvania

     ENVIRONMENTAL RESEARCH AND DESIGN, INC., ET AL. v. GENERAL
          CHEMICAL CORPORATION, ET AL., C.A. No. 2:15-06421
     FLAMBEAU RIVER PAPERS, LLC v. REICHL, ET AL., C.A. No. 2:15-06422
